                        Case 18-11146-LMI                 Doc 31        Filed 06/08/18            Page 1 of 1



 RE: Jimmy Steve Autran                                              PRO SE                        Case# 18-1 t.'-14,_,,6'-'-L=M~I_ __
            TRUSTEE'S NOTICE OF DEFICIENCY FOR CONFIRMATION AND RECOMMENDATION (Pre 341)
The Trustee reviewed this case for confirmation and found the following deficiencies from the Trustee's letter requesting
documents and prior deficiencies and thus objects as follows:
~ Tax returns:                    Corp 2016-2017                  ./ ./Photo ID(s)         LF 90        LF67        LFIO
.:!.._Bank Account Statements ./ 3 months pre-petition            L Domestic Support Info: name address and phone
                                                                  _Affidavit of Support

                                                                         _Other provisions
 _Check copy _ _ _ _ _ _ _ _ _ _ __
                                                                                 Plan does not fund
 _Explain W/D _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                             _Calculation errors/improper months _ _ _ _ _ __
 !!__ Ff\:;1Y(NADA/Carmax), Reg and PaYSJff:Vehicles ____ _              _ __valuation motion has not been filed
        'Z'--- 03 Porcshe & 05 Ford   ~ 03 Porcshe                       .!!____ MMM motion not filed
                                               ------                            Reaffirm, redeem or surrender Sch D & G creditor
 - FMV and Payoff: Real Estate_ _ _ _ _ _ __
                                                                           ./ Creditor paid through the Plan has not filed a POC
   Non homestead Information Sheet                                       L Priority debt on Sch E not in plan
 _Wage deduction order or motion to waive                                _Object or Conform to Proof of Claim
 BUSINESS DEBTOR DOCUMENTS                                                       _Miami-Dade County         _Tax Certificate(DE#__J
 {_ BDQ & attachments ./ Profit & Loss ./ Balance Sheet
 ~Bank statements and checks ./ 3 months _____________                   i3D':,c-~~;t(~~"~ynue                     IRS

                                                                              Other:
 \D ~)(   1 1..-LC...

         Fee application (see court guideline 6)                                 Objection to Exemption (specifics to be filed)
         Income understated _ _ _ stubs               taxes                      To be heard with confirmation at 1:30 pm
         co-debtor            ______ stubs _____ taxes                    /      Ch 7 s/b 11 j loS 0 1 plus tax refund I valuations
         Spouse's pay advices/spouse's wages not disclosed                       Good faith tbunsecured
.,/      Proof of household size (government ID w/ address)                      Expenses: documentation/calculation: CMI line
         and income of all adults r:;:-~
~        Best eff01t < 36 months~
         Expenses objectionable: Sch J D Provide Proof
                                                                         _L_ .    CMI/Dl 100 .         x 60 = 451 loL'D -
_L @:+ooJV~.ou~bi.H-tj'- \1 -3\o                                         D     Plus income/expenses issues D Trustee est. $_ __
         Info on transfer SOFA                 undisclosed                        Undervalued collateral should be crammed down
         _Tolling Agreement(s)

Other:    ;"'~ (\.QQ__,~                   lliLv'-._)    UL

Trustee reserves the right to raise additional objections until all requested documents are timely provided.

IMPORTANT NOTICE REGARDING CONFIRMATION: IF THE DEBTOR(S) OBJECTS TO THE TRUSTEE'S
RECOMMENDATION ON THE PUBLISHED CALENDAR, THE DEBTOR'S ATTORNEY MUST CONTACT THE TRUSTEE'S
OFFICE AND SPEAK TO ANATTORNEY BEFORE 2PM THE DAY PRIOR TO THE HEARING OR THE RECOMMENDATION
WILL BE DEEMED UNCONTESTED BY THE DEBTOR. **The Trustee's calendar will be published prior to the confirmation
hearing - contact the Trustee's office on how to locate the calendar on her web site - access is limited The debtor or de ht or's attorney
must appear at the confirmation hearing The debtor may still be dismissed for failure to fund the plan if they are delinquent in payments.
Please note: documents that were not timely filed/received by the trustee may not be considered or reviewed until the next hearing date.

Deficiencies must be cured by 5 pm on              JUN 2 8 20181      to avoid dismissal
The Trustee will recommend dismissal of this case unless a) The Trustee receives copies of all requested
documents as listed above, b) The Trustee receives a written response with "back-up documentation"
of all issues raised, c) The debtor files all amendments, and d) The debtor files and properly serves all
motions and self-calendars those motions for the first confirmation hearing.
I hereby certify that a true and correct copy of the foregoing was served through ECF on the debtor's attorney or by U.S. First
Class prc-paicf Mail on the pro se debtor on the same day filed with the Court. Submitted by NANCY K. NEIDICH CHAPTER
13 TRUSTEE, P.O. BOX 279806, MIRAMAR, FL 33027
